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                       Exhibit -
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


    Mahmoud KHALIL,
                  Petitioner,
    v.
                                                               Case No. 25-cv-01963
    Donald J. TRUMP, in his official capacity as
                                                               (MEF-MAH)
    President of the United States; William P.
    JOYCE, in his official capacity as Acting
                                                               DECLARATION OF
    Field Office Director of New York,
                                                               STEFANIE FOX,
    Immigration and Customs Enforcement;
                                                               EXECUTIVE
    Yolanda PITTMAN, in her official capacity as
                                                               DIRECTOR OF A
    Warden of Elizabeth Contract Detention
                                                               JEWISH VOICE FOR
    Facility; Caleb VITELLO, Acting Director,
                                                               PEACE
    U.S. Immigration and Customs Enforcement;
    Kristi NOEM, in her official capacity as
    Secretary of the United States Department of
    Homeland Security; Marco RUBIO, in his
    official capacity as Secretary of State; and Pamela
    BONDI, in her official capacity as Attorney
    General, U.S. Department of Justice,

                  Respondents.

         I, Stefanie Fox, declare under penalty of perjury that the following is true and
  correct to the best of my knowledge.
  1. I am Executive Director of A Jewish Voice for Peace (“JVP”), a U.S.-based,
     grassroots membership organization mobilizing Jewish communities to advocate
     for a just society in Palestine/Israel. I have been Executive Director of JVP for 5
     years, and a staff member prior to that for 16 years.
  2. With 720,000 members and supporters, JVP is one of the largest progressive
     Jewish organizations in the world.
  3. JVP partners with other U.S.-based organizations who advocate for civil rights and
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     justice in the United States and Palestine/Israel.
  4. JVP and its members are impacted by and concerned about (a) the brazen public
     arrest and detention of Mahmoud Khalil, a lawful permanent resident of the
     United States, and (b) the government’s insistence that Mr. Khalil’s protected,
     lawful speech is an appropriate basis for the revocation of his green card and
     grounds for deportation.
  5. This position and the current administration’s corresponding policies and orders
     have chilled the speech of JVP and its members. Non-citizen members of JVP,
     including students, are afraid they will be targeted for exercising their First
     Amendment rights in advocating for Palestinian human rights. U.S. citizen
     members of JVP are similarly afraid of being targeted by the government.
  6. JVP members across citizenship and visa statuses have curtailed their speech and
     silenced themselves for fear of reprisal, retaliation, and targeting by the
     government. Several JVP members who are not U.S. citizens have entirely stopped
     exercising their First Amendment rights because they fear they will be unlawfully
     arrested and detained by the government, just like Mr. Khalil was. They worry
     about the possibility of deportation, something lawful permanent residents and
     visa holders did not worry about before Mr. Khalil’s arrest. Deportation would
     fundamentally alter their lives.
  7. With respect to students and student chapters, specifically, members are afraid that
     unlawful arrest, detention, or deportation will prevent them from completing their
     studies and will derail their education and future careers. They face a decision no
     Jewish lawful permanent resident or U.S. citizen should have to face: choosing
     between speaking out against a genocide that the state of Israel claims to carry out
     in the name of Jews and completing an education that is necessary to secure their
     future. Many students have stopped speaking about Palestine/Israel entirely.
  8. Dozens of JVP members, including students, who are being, or feel they may be,

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     targeted for their protected speech have requested help, support, advice, and
     assistance securing legal representation from JVP. The number of requests has
     increased significantly since Mr. Khalil’s arrest. JVP has had to expend significant
     time and resources responding to these requests and assisting its members and
     partners.
  9. The most recent example relates to JVP’s National Member Meeting (“NMM”),
     which occurred in May 2025. In the weeks and days before the NMM, several
     presenters informed JVP they would not attend because they were concerned
     about government retaliation. Presenters who live outside the United States were
     afraid of unlawful arrest and detention while inside the United States. They cited
     the administration’s arrest and detention of Mr. Khalil as an example of what
     could happen to them and the reason they could not safely attend the NMM.
  10. The chilling effect JVP, its members, and its partners are experiencing will increase

     if the government continues to unlawfully detain Mr. Khalil and deports him for
     exercising his First Amendment rights.



  Dated: June 2, 2025

                                                  STEFANIE FOX, EXECUTIVE DIRECTOR
                                                  OF A JEWISH VOICE FOR PEACE




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